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 ATTACHMENT C
                                                 Case 1:21-cr-00040-TNM Document 663-3 Filed 07/04/23 Page 2 of 3

              Certificate of Authenticity of Domestic Records of Regularly Conducted
                                              Activity
I, Brianna Gotzh, certify:

         1.                        I am employed by Facebook, Inc. ("Facebook"), headquartered in Menlo Park, California. I am a duly authorized
                                   custodian of records for Facebook and am qualified to certify Facebook's domestic records of regularly conducted
                                   activity.


         2.                        I have reviewed the records produced by Facebook in this matter in response to the Search Warrant received on
                                   March 11, 2021. The records include search results for Basic Subscriber Information, IP Address Logs, Messages,
                                   Photos, Transactional Information, Videos, Other Content and records for the account with identifier
                                   100028804994367.


         3.                        The records provided are an exact copy of the records that were made and kept by the automated systems of Facebook
                                   in the course of regularly conducted activity as a regular practice of Facebook. The records were saved in electronic
                                   format after searching Facebook's automated systems in accordance with the above-specified legal process. The
                                   records were made at or near the time the information was transmitted by the Facebook user.


         4.                        I declare under penalty of perjury that the foregoing certification is true and correct to the best of my knowledge.




                                                                                                                   Date: March 12, 2021
                                          Brianna      Gotzh
                                          ________________________

                                                  Brianna Gotzh
                                               Custodian of Records




                      facebook
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                                                 Case 1:21-cr-00040-TNM Document 663-3 Filed 07/04/23 Page 3 of 3

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                                   Other Content and records for the account with identifier 100028804994367.


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                                                  Brianna Gotzh
                                               Custodian of Records




                      facebook
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